     Case: 1:14-cv-01674 Document #: 21 Filed: 06/30/15 Page 1 of 2 PageID #:46




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


SHAWANDA HUTSON,

       Plaintiff,                                     Case No. 14-cv-01674

v.                                                    Honorable John Z. Lee

CHICAGO STEAM BASKETBALL, LLC,

       Defendant.



            MOTION FOR ISSUANCE OF CITATION TO DISCOVER ASSETS

       SHAWANDA HUTSON, Plaintiff, hereby petitions this Court for the issuance of a

Citation to Discover Assets against Defendant, CHICAGO STEAM BASKETBALL, LLC, and

in support thereof, states on oath:

       1.      A judgment was entered by Judge John Z. Lee, on October 10, 2014 on a motion

for default judgment, in favor of Plaintiff, SHAWANDA HUTSON, and against Defendant,

CHICAGO STEAM BASKETBALL, LLC, in an amount of $22,230.00 and remains unsatisfied.

       WHEREFORE, Plaintiff, SHAWANDA HUTSON, respectfully requests as follows:

       1.      That the Court grant the Motion for the Issuance of a Citation to Discover Assets

belonging to CHICAGO STEAM BASKETBALL, LLC; and

       2.      That the Court grants any other relief it deems just and necessary

                                              Respectfully Submitted,

                                             By:     s/ Maryam Arfeen
                                                     Attorney for Plaintiff
LEONARD LAW OFFICES
Michael I. Leonard
Ethan E. White
     Case: 1:14-cv-01674 Document #: 21 Filed: 06/30/15 Page 2 of 2 PageID #:47




Maryam Arfeen
203 North LaSalle Street
Suite 1620
Chicago, Illinois 60601
(312) 374-8084 (phone)
(312) 264-0671 (fax)




                                         2
